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Counsel for Plaintiff, Steven Bagot
                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
In re:                                                         Case No. 8:19-bk-12480-TA
GUY S. GRIFFITHE                                               Adversary Proc. No. 8:19-ap-01201-TA
                  Debtor.                                      Chapter 7 Proceeding


STEVEN BAGOT,                                                  NOTICE OF CONTINUED STATUS CONFERENCE
                  Plaintiff,                                   DATE:          January 16, 2020
                                                               TIME:          10:00 a.m.
         v.
                                                               PLACE:         411 West Fourth Street
GUYS S. GRIFFITHE,                                                            Courtroom 5B
                                                                              Santa Ana, CA 92701
                   Defendant.

TO THE UNITED STATES TRUSTEE, AND PARTIES IN INTEREST:
PLEASE TAKE NOTICE that pursuant to the courts December 19, 2019 tentative, the status conference is continued so as to
coincide with the Motion to Dismiss. The status hearing will be held on January 16, 2020 at 10:00 a.m. located at the United
States Bankruptcy Court, Ronald Reagan Federal Building and U.S. Courthouse, 411 West Fourth Street, Courtroom 5B, Santa
Ana, CA 92701.
DATED: December 27, 2019                            WINTHROP GOLUBOW HOLLANDER, LLP

                                                    By: /s/ Richard H Golubow
                                                        Richard H. Golubow
                                                        Peter W. Lianides
                                                    Counsel for Plaintiff Steven Bagot




                                                                MAINDOCS-#243313-v1-Bagot_-_Notice_of_Continued_Status_Conference_1_16_20
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
1301 Dove Street, Suite 500, Newport Beach, CA 92660
A true and correct copy of the foregoing document entitled: NOTICE OF CONTINUED STATUS
CONFERENCE will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
controlling General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to
the document. On December 27, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
transmission at the email addresses stated below:

   Thomas H Casey (TR) msilva@tomcaseylaw.com, thc@trustesolutions.net
   Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
   Richard H Golubow rgolubow@wcghlaw.com,
    pj@wcghlaw.com;jmartinez@wcghlaw.com;Meir@virtualparalegalservices.com
   United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

    Service information continued on attached page
2. SERVED BY UNITED STATES MAIL: On December 27, 2019, I served the following persons and/or
entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
after the document is filed.
                                 United States Bankruptcy Court
                                 Central District of California
                                 Ronald Reagan Federal Building and Courthouse
                                 Hon. Theodore C. Albert
                                 411 West Fourth Street, Suite 5085 / Courtroom 5B
                                 Santa Ana, CA 92701-4593
    Service information continued on attached page
3. SERVED BY EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or
controlling LBR, on December 27, 2019. I served the following persons and/or entities by personal delivery,
overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail
to, the judge will be completed no later than 24 hours after the document is filed.
Heidi Urness - heidiurnesslaw@gmail.com
    Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
December 27, 2019            Jeannie Martinez                                   /s/ Jeannie Martinez
 Date                     Printed Name                                          Signature




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